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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

GERVON DEXTER, SR.
         Plaintiff
vs.                                                             CASE NO. 1:23-cv-00228-AW-
BIG LEAGUE ADVANCE FUND II,                                     HTC
LP
         Defendant
                                                           /


      GERVON DEXTER, SR.’S NOTICE OF VOLUNTARY DISMISSAL
                     WITHOUT PREJUDICE

         COMES NOW Plaintiff Gervon Dexter, Sr. (“Dexter”), by and through

undersigned counsel, and files this notice of his voluntary dismissal1 of this action

without prejudice pursuant to Fed. R. Civ. Pro. 41(a)(1).

                                                      Respectfully submitted,

                                                      PHELPS DUNBAR LLP


                                                      /s/ Rhett C. Parker
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  Based on Big League Advance Fund, II, LP’s Second Amended Rule 7.1 Corporate Disclosure Statement (Doc.
15), it appears that complete diversity does not exist. At the time the Complaint was filed and prior to the filing of
Big League Advance Fund, II, LP’s Second Amended Rule 7.1 Corporate Disclosure Statement, and this
information was not otherwise known or ascertainable.

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                                        Attorneys for Plaintiff Gervon Dexter, Sr.




                          CERTIFICATE OF SERVICE

        I certify that on this 14th day of November 2023, a true and accurate copy of

the foregoing was electronically filed with the Clerk of Court by using the

CM/ECF system. I also certify that the foregoing document is being served this

day on all counsel of record identified on the attached service list in the manner

specified, either via transmission of Notices of Electronic Filing generated by

CM/ECF or in some other authorized manner for those counsel or parties who are

not authorized to electronically receive Notice of Electronic Filing.




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